USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-52 filed 04/03/20 page 1 of 6




      EXHIBIT 16
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-52 filed 04/03/20 page 2 of 6
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-52 filed 04/03/20 page 3 of 6
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-52 filed 04/03/20 page 4 of 6
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-52 filed 04/03/20 page 5 of 6
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-52 filed 04/03/20 page 6 of 6
